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                                     UNITED STATES DISTRICT COURT

                                    NORTHERN DISTRICT OF CALIFORNIA

                                            CRIMINAL MINUTES

Date: March 31, 2021                 Time: 10:15-11:52 am              Judge: Edward J. Davila
                                     Total Time: 1 Hr. 37 Mins.
Case No.: 20-cr-00432-EJD- Case Name: UNITED STATES v. Ole Hougen(P)(C)
1

Attorney for Plaintiff: Marissa Harris, Michael Songer

Attorney for Defendant: Severa Keith, Tamara Crepet


 Deputy Clerk: Adriana M. Kratzmann                     Court Reporter: Irene Rodriguez

 Interpreter: N/A                                       Probation Officer: N/A


                       PROCEEDINGS – STATUS CONFERENCE/MOTION HEARING
                              IN-COURT Via AT&T Telephone Conference

Defendant is present and in-custody. Hearing held.
The Court ordered the CJA Appointment of Counsel, Mark Flanagan to represent trial witness Samuel
Battle (SB). This appointment is nunc pro tunc as of 3/29/2021. Counsel has provided counsel a packet
of information with reports as they relate to SB. The Court made an ORAL order that the
Government may provide Counsel Flanagan with the excerpts of the Grand Jury Transcript and
counsel was admonished to not distribute the transcript. Counsel and SB shall appear before the
Court on Friday, April 2, 2021 at 8:00 a.m.
The Court GRANTS Defendant’s administrative motion to seal exhibits A-D to Defendants motion re:
relevance and admissibility of felony assault with a deadly weapon committed by S.B. on March 23,
2021, and his subsequent false statements to law enforcement (Dkt. 138 filed 3/30/2021).
The Court heard oral arguments and DENYS Defendant’s motion (Dkt. 138).

CASE CONTINUED TO: April 2, 2021 8:00 A.M. for Status Hearing as to trial witness.
Jury Selection/Trial: April 2, 2021 at 9:00 A.M.



                                                                                          Adriana M. Kratzmann
    P/NP: Present, Not Present
                                                                                              Courtroom Deputy
    C/NC: Custody, Not in Custody
                                                                                                 Original: Efiled
    I: Interpreter
                                                                                                            CC:
                Case 5:20-cr-00432-EJD Document 145 Filed 03/31/21 Page 2 of 2




Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady,
the government has a continuing obligation to produce all information or evidence known
to the government that is relevant to the guilt or punishment of a defendant, including,
but not limited to, exculpatory evidence.

Accordingly, the Court Orders the government to produce to the defendant in a
timely manner all information or evidence known to the government that is either:
(1) relevant to the defendant’s guilt or punishment; or (2) favorable to the defendant on
the issue of guilt or punishment.

This Order is entered under Rule 5(f) and does not relieve any party in this matter
of any other discovery obligation. The consequences for violating either this Order or the
government’s obligations under Brady include, but are not limited to, the following:
contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
of evidence, and dismissal of charges.




                                                                                     Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                         Courtroom Deputy
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                                                                                                       CC:
